
The judgment of the court was pronounced by
Preston, J.
The defendants and appellees have moved to dismiss the appeal in this case. It was granted on the 15th of February, 1850, and made returnable in the Supreme Court on the fourth Monday of March following ; but the transcript of the record was not filed in the court until the 17th of April, 1850, and no application was made for further time. On the 20th of April, 1850, the motion to dismiss the appeal was made. It must therefore be dismissed at appellants costs, which is decreed. Dwight v. McMillen, 4th Ann. 350. New Orleans and Carrollon Railroad Company v. Hood, 3d Ann. 226. Penney v. Sommerville, 3d Ann. 668.
